           Case 3:24-cr-01639-BAS          Document 33      Filed 02/26/25      PageID.67        Page 1 of 2

                                 UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF CALIFORNIA

        UNITED STATES OF AMERICA                               CASE NUMBER           24-cr-01639-BAS-1

                         vs                                    ABSTRACT OF ORDER

             Rosalio Loera                                     Booking No.         14545506


TO THE UNITED STATES MARSHAL AND / OR WARDEN, METROPOLITAN CORRECTIONAL CENTER:
           Be advised that under date of                        2/28/2025
the Court entered the following order:


      X               Defendant be releaseG from custody.

                      Defendant placed on supervised / unsupervised probation / supervised release.

                      Defendant continued on supervised / unsupervised probation / supervised release.

                      Defendant released on                                                     Bond posted.

                      Defendant appeared in Court. FINGERPRINT & RELEASE.

                      Defendant remanded and (                bond ) (             bond on appeal ) exonerated.

                      Defendant sentenced to TIME SERVED, supervised release for                     years.

                      Bench Warrant Recalled.

                      Defendant forfeited collateral.

                      Case dismissed.

       X              Case dismissed, charges pending in case no.        25-cr-439-BAS

                      Defendant to be release to Pretrial Services for electronic monitoring.

                      Other.



                                                                   JILL L. BURKHARDT
                                                            UNITED STATES DISTRICT/MAGISTRATE JUDGE
                                                                                       OR
                                                            JOHN MORRILL, Clerk of Court
                                                            by A. Smith 619-557-6425



Crim-9 (Rev. )
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Aishah Smith

From:              Scott, Andrea (USMS) on behalf of CAS Releases

To:                Aishah Smith
Sent:              Friday, February 28, 2025 10:52 AM
Subject:           Read: 24cr1639 Abstract


Your message

 To: CAS Releases
 Subject: [EXTERNAL] 24cr1639 Abstract
 Sent: Friday, February 28, 2025 10:48:13 AM (UTC-08:00) Pacific Time (US & Canada)

was read on Friday, February 28, 2025 10:51:14 AM (UTC-08:00) Pacific Time (US & Canada).




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